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10   UNITED STATES OF AMERICA
11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 23-133-PA-2

14             Plaintiff,                     ORDER CONTINUING
                                              SENTENCING HEARING
15                   v.
                                              [PROPOSED] SENTENCING DATE:
16   CHRISTOPHER BLAIR HERNANDEZ,
                                                01/08/2024 at 8:30 a.m.
17             Defendant.

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19        The Court has read and considered the Stipulation to Continue
20   Sentencing Hearing for defendant CHRISTOPHER BLAIR HERNANDEZ, filed
21   by the parties in this matter.       The Court hereby finds that the
22   Stipulation, which this Court incorporates by reference into this
23   Order, demonstrates facts that support a continuance of the
24   sentencing hearing in this matter, and provides good cause for
25   continuing the sentencing hearing, as requested by the parties.
26   //
27   //
28   //
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1           THEREFORE, FOR GOOD CAUSE SHOWN:

2           The sentencing hearing date for defendant HERNANDEZ in this

3    matter is continued from October 2, 2023, to January 8, 2024, at 8:30

4    a.m.

5           IT IS SO ORDERED.

6

7     August 29, 2023
      DATE                                              PERCY ANDERSON
8                                                UNITED STATES DISTRICT JUDGE
9
10

11   Presented by:
12
     BRIAN R. FAERSTEIN
13   J. JAMARI BUXTON
     Assistant United States Attorney
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